      Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 1 of 11



 1                            (Stipulating Parties Listed on Signature Pages)
 2                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 3                                  SAN FRANCISCO DIVISION
 4   In re: CATHODE RAY TUBE (CRT)                       Case No. 07-5944 SC
     ANTITRUST LITIGATION
 5                                                       MDL No. 1917
     This Document Relates to:
 6                                                       STIPULATION AND [PROPOSED]
     ALL INDIRECT PURCHASER ACTIONS                      ORDER REGARDING DEADLINE FOR
 7                                                       BRIEFING AND HEARING DATE FOR
     Siegel v. Hitachi, Ltd., No. 11-cv-05502;           MOTIONS IN LIMINE
 8
     Best Buy Co., Inc. v. Hitachi, Ltd., No. 11-cv-
 9   05513;
10   Best Buy Co., Inc., et al. v. Technicolor SA, et
     al., Case No. 13-cv-05264
11
     Target Corp. v. Chunghwa Picture Tubes, Ltd.,
12   No. 11-cv-05514;

13   Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
     01173;
14
     Sharp Elecs. Corp. v. Koninklijke Philips Elecs.
15   N.V., No. 13-cv-02776;
     Sears, Roebuck & Co. and Kmart Corp. v.
16   Chunghwa Picture Tubes, Ltd., et al., Case No.
     3:11-cv-05514;
17
     Viewsonic Corporation v. Chunghwa Picture
18   Tubes, Ltd., et al., Case No. 3:14-cv-002510
19
            WHEREAS, pursuant to the Stipulation and Order Regarding Scheduling dated December
20
     12, 2014 (Doc. No. 3182) (“Stipulation and Order”), Indirect Purchaser Plaintiffs (“IPPs”), Direct
21
     Action Plaintiffs’ (“DAPs”) and Defendants must file any motions in limine no later than
22
     February 13, 2015;
23
            WHEREAS, pursuant to the Stipulation and Order, IPPs, DAPs and Defendants must file
24
     oppositions to motions in limine no later than February 20, 2015;
25
            WHEREAS, pursuant to the Stipulation and Order, the Court will hold a hearing on all
26
     motions in limine on February 27, 2015;
27
            WHEREAS, pursuant to the Scheduling Order dated February 9, 2015 (Doc. No. 3515) the
28


     STIPULATION AND [PROPOSED] ORDER REGARDING                                            Case No. 07-594
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                          MDL NO. 1917
      Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 2 of 11



 1   Court vacated the trial date, pre-trial conference, and all outstanding pre-trial deadlines and set a

 2   status conference and trial setting for August 7, 2015;

 3           WHEREAS, counsel for the IPPs, DAPs, and Defendants have met and conferred and

 4   agree that a modest modification of the case schedule regarding motions in limine will aid in the

 5   efficient resolution of the litigation;

 6           IT IS HEREBY STIPULATED AND AGREED by and between counsel for the IPPs,

 7   DAPs, and Defendants as follows:

 8               1. Oppositions to any motion in limine must be filed no later than February 27, 2015;

 9               2. Replies to any motion in limine must be filed no later than March 6, 2015; and

10               3. The hearing before the Court regarding all motions in limine will be held at the

11   Court’s convenience.

12                                                  * * *

13           The undersigned parties jointly and respectfully request that the Court enter this

14   stipulation as an order.

15

16   PURSUANT TO STIPULATION, IT IS SO ORDERED.                                  S DISTRICT
                                                                              ATE           C
                                                                             T




                                                                                                   O
                                                                        S




                                                                                                    U
17
                                                                       ED




                                                                                                     RT
                                                                   UNIT




18          02/17/2015
     Dated:___________________                          ______________________________________



                                                                                                            R NIA
                                                                    Hon. Samuel Conti
19                                                              United States District nJudge
                                                                                        ti
                                                                               muel Co
                                                                   NO




                                                                                            a
                                                                                     Judge S
                                                                                                           FO
                                                                    RT




20
                                                                                                       LI

                                                                            ER
                                                                        H




                                                                                                       A


                                                                                 N                     C
21                                                                                                 F
                                                                                     D IS T IC T O
     DATED: February 13, 2015                                                              R
22
                                                   BAKER BOTTS LLP
23
                                               By: /s/ John M. Taladay
24                                                JOHN M. TALADAY (pro hac vice)
                                                  john.taladay@bakerbotts.com
25                                                JOSEPH OSTOYICH (pro hac vice)
                                                  joseph.ostoyich@bakerbotts.com
26                                                ERIK T. KOONS (pro hac vice)
                                                  erik.koons@bakerbotts.com
27                                                CHARLES M. MALAISE (pro hac vice)
                                                  Charles.malaise@bakerbotts.com
28                                                BAKER BOTTS LLP

                                                        2
     STIPULATION AND [PROPOSED] ORDER REGARDING                                                        Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                                       MDL NO. 1917
      Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 3 of 11



 1                                        1299 Pennsylvania Avenue, N.W.
                                          Washington DC 20004-2400
 2                                        Telephone: (202) 639-7700
                                          Facsimile: (202) 639-7890
 3
                                          JON V. SWENSON (SBN 233054)
 4                                        jon.swenson@bakerbotts.com
                                          BAKER BOTTS LLP
 5                                        1001 Page Mill Road
                                          Building One, Suite 200
 6                                        Palo Alto, CA 94304
                                          Telephone: (650) 739-7500
 7                                        Facsimile: (650) 739-7699
                                          E-mail: jon.swenson@bakerbotts.com
 8
                                          Attorneys for Defendants Koninklijke Philips N.V.,
 9                                        Philips Electronics North America Corporation,
                                          Philips Taiwan Ltd., and Philips do Brasil, Ltda.
10

11

12                                        By: /s/ Lucius B. Lau
                                          Christopher M. Curran (pro hac vice)
13                                        ccurran@whitecase.com
                                          Lucius B. Lau (pro hac vice)
14                                        alau@whitecase.com
                                          Dana E. Foster (pro hac vice)
15                                        defoster@whitecase.com
                                          701 Thirteenth Street, N.W.
16                                        Washington, DC 20005
                                          tel.: (202) 626-3600
17                                        fax: (202) 639-9355

18
                                          Counsel to Defendants Toshiba Corporation,
19                                        Toshiba America, Inc., Toshiba America Information
                                          Systems, Inc., Toshiba America Consumer Products,
20                                        L.L.C., and Toshiba America Electronic
                                          Components, Inc.
21
                                          WINSTON & STRAWN LLP
22
                                          By: /s/ Jeffrey L. Kessler
23
                                          WINSTON & STRAWN LLP
24                                        Jeffrey L. Kessler (pro hac vice)
                                          A. Paul Victor (pro hac vice)
25                                        Aldo A. Badini Cal. Bar No. 257086
                                          Eva W. Cole (pro hac vice)
26                                        Molly M. Donovan (pro hac vice)
                                          200 Park Avenue
27
                                          New York, NY 10166
28                                        Telephone:      (212) 294-4692

                                               3
     STIPULATION AND [PROPOSED] ORDER REGARDING                                   Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                  MDL NO. 1917
      Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 4 of 11



 1                                        Facsimile:     (212) 294-4700
                                          Email:       jkessler@winston.com
 2                                                     abadini@winston.com
 3                                                     pvictor@winston.com
                                                       ewcole@winston.com
 4                                                     mmdonovan@winston.com

 5                                        WEIL, GOTSHAL & MANGES LLP
                                          Steven A. Reiss (pro hac vice)
 6                                        David L. Yohai (pro hac vice)
 7                                        Adam C. Hemlock (pro hac vice)
                                          767 Fifth Avenue
 8                                        New York, NY 10153-0119
                                          Telephone:    (212) 310-8000
 9                                        Facsimile:    (212) 310-8007
                                          Email:      steven.reiss@weil.com
10
                                                      david.yohai@weil.com
11                                                    adam.hemlock@weil.com

12                                        Attorneys for Defendants Panasonic Corporation
                                          (f/k/a Matsushita Electric Industrial Co., Ltd.),
13                                        Panasonic Corporation of North America, and MT
                                          Picture Display Co., Ltd.
14

15                                        SHEPPARD MULLIN RICHTER & HAMPTON
                                          LLP
16
                                          By: /s/ James L. McGinnis
17                                        SHEPPARD MULLIN RICHTER & HAMPTON
                                          LLP
18                                        Gary L. Halling, Cal. Bar No. 66087
                                          James L. McGinnis, Cal. Bar No. 95788
19                                        Michael W. Scarborough, Cal. Bar No. 203524
                                          Four Embarcadero Center, 17th Floor
20                                        San Francisco, CA 94111-4109
                                          Telephone:    (415) 434-9100
21                                        Facsimile:    (415) 434-3947
                                          E-mail:    ghalling@sheppardmullin.com
22                                                   jmcginnis@sheppardmullin.com
                                                     mscarborough@sheppardmullin.com
23
                                          Attorneys for Defendants Samsung SDI America,
24                                        Inc.; Samsung SDI Co., Ltd.; Samsung SDI
                                          (Malaysia) SDN. BHD.; Samsung SDI Mexico S.A.
25                                        DE C.V.; Samsung SDI Brasil Ltda.; Shenzen
                                          Samsung SDI Co., Ltd. and Tianjin Samsung SDI
26                                        Co., Ltd.
27
28

                                               4
     STIPULATION AND [PROPOSED] ORDER REGARDING                                  Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                 MDL NO. 1917
      Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 5 of 11



 1                                        KIRKLAND & ELLIS LLP
 2                                        By: /s/ Eliot A. Adelson
 3                                        KIRKLAND & ELLIS LLP
                                          Eliot A. Adelson Cal. Bar. No. 205284
 4                                        555 California Street, 27th Floor
                                          San Francisco, CA 94104
 5                                        Telephone:      (415) 439-1400
                                          Facsimile:      (415) 439-1500
 6                                        Email:        eadelson@kirkland.com
 7
                                          Attorneys for Defendants Hitachi, Ltd., Hitachi
 8                                        Displays, Ltd. (n/k/a Japan Display, Inc.), Hitachi
                                          Asia, Ltd., Hitachi America, Ltd., and Hitachi
 9                                        Electronic Devices (USA), Inc.

10
                                          GIBSON, DUNN & CRUTCHER LLP
11
                                          By: /s/ Rachel S. Brass
12                                        GIBSON, DUNN & CRUTCHER LLP
                                          Rachel S. Brass Cal. Bar. No. 219301
13
                                          Joel S. Sanders Cal. Bar. No. 107234
14                                        Austin V. Schwing Cal. Bar. No. 211696
                                          555 Mission Street, Suite 3000
15                                        San Francisco, CA 94105
                                          Telephone:     (415) 393-8200
16                                        Facsimile:     (415) 393-8306
                                          Email:       rbrass@gibsondunn.com
17
                                          jsanders@gibsondunn.com
18                                        aschwing@gibsondunn.com

19                                        Attorneys for Defendants Chunghwa Picture Tubes,
                                          Ltd. and Chunghwa Picture Tubes (Malaysia)
20

21                                        FAEGRE BAKER DANIELS LLP

22                                        By: /s/ Kathy L. Osborn
                                          FAEGRE BAKER DANIELS LLP
23                                        Kathy L. Osborn (pro hac vice)
                                          Ryan M. Hurley (pro hac vice)
24
                                          300 N. Meridian Street, Suite 2700
25                                        Indianapolis, IN 46204
                                          Telephone: (317) 237-0300
26                                        Facsimile: (317) 237-1000
                                          kathy.osborn@FaegreBD.com
27                                        ryan.hurley@FaegreBD.com
28

                                               5
     STIPULATION AND [PROPOSED] ORDER REGARDING                                    Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                   MDL NO. 1917
      Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 6 of 11



 1                                        Calvin L. Litsey (SBN 289659)
                                          Faegre Baker Daniels LLP
 2                                        1950 University Avenue, Suite 450
 3                                        East Palo Alto, CA 94303-2279
                                          Telephone: (650) 324-6700
 4                                        Facsimile: (650) 324-6701
                                          calvin.litsey@FaegreBD.com
 5
                                          Attorneys for Defendants Thomson           SA   and
 6                                        Thomson Consumer Electronics, Inc.
 7

 8                                        JENNER & BLOCK LLP

 9                                        By: /s/ Michael T. Brody
                                          JENNER & BLOCK LLP
10
                                          Terrence J. Truax (pro hac vice)
11                                        Michael T. Brody (pro hac vice)
                                          353 North Clark Street
12                                        Chicago, Illinois 60654-3456
                                          Telephone: (312) 222-9350
13                                        Facsimile: (312) 527-0484
                                          ttruax@jenner.com
14
                                          mbrody@jenner.com
15
                                          Brent Caslin (Cal. Bar. No. 198682)
16                                        JENNER&BLOCK LLP
                                          633 West Fifth Street, Suite 3600
17                                        Los Angeles, California 90071
                                          Telephone: (213) 239-5100
18
                                          Facsimile: (213) 239-5199
19                                        bcaslin@jenner.com

20                                        Attorneys for Defendants Mitsubishi Electric
                                          Corporation, Mitsubishi Electric US, Inc. and,
21                                        Mitsubishi Electric Visual Solutions America, Inc.
22
                                          SQUIRE PATTON BOGGS (US) LLP
23
                                          By: /s/ Donald A. Wall
24                                        Mark Dosker
                                          Nathan Lane, III
25                                        275 Battery Street, Suite 2600
26                                        San Francisco, CA 94111
                                          Telephone: 415.954.0200
27                                        Facsimile: 415.393.9887
                                          Email: mark.dosker@squirepb.com
28                                        nathan.lane@squirepb.com

                                               6
     STIPULATION AND [PROPOSED] ORDER REGARDING                                   Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                  MDL NO. 1917
      Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 7 of 11



 1
                                          Donald A. Wall (Pro Hac Vice)
 2                                        SQUIRE PATTON BOGGS (US) LLP
 3                                        1 East Washington Street, Suite 2700
                                          Phoenix, Arizona 85004
 4                                        Telephone: 602.528.4000
                                          Facsimile: 602.253.8129
 5                                        Email: donald.wall@squirepb.com
 6                                        Attorneys for Defendant Technologies Displays
 7                                        Americas LLC with respect to all cases except
                                          Office Depot, Inc. v. Technicolor SA, et al. and
 8                                        Sears, Roebuck and Co., et al v. Technicolor SA, et
                                          al.
 9
                                          CURTIS, MALLET-PREVOST, COLT & MOSLE
10
                                          LLP
11
                                          By: /s/ Jeffrey I. Zuckerman
12                                        Jeffrey I. Zuckerman (Pro Hac Vice)
                                          Ellen Tobin (Pro Hac Vice)
13                                        101 Park Avenue
                                          New York, New York 10178
14
                                          Telephone: 212.696.6000
15                                        Facsimile: 212.697.1559
                                          Email: jzuckerman@curtis.com
16                                        etobin@curtis.com
17                                        Arthur Gaus (SBN 289560)
                                          DILLINGHAM & MURPHY, LLP
18
                                          601 California Street, Suite 1900
19                                        San Francisco, California 94108
                                          Telephone: 415.397.2700
20                                        Facsimile: 415.397-3300
                                          Email: asg@dillinghammurphy.com
21

22                                        Attorneys for Defendant Technologies Displays
                                          Americas LLC with respect to Office Depot, Inc. v.
23                                        Technicolor SA, et al. and Sears, Roebuck and Co.
                                          et al. v. Technicolor SA, et al.
24
                                          MUNGER, TOLLES & OLSON LLP
25

26
                                          By: /s/ Brad D. Brian__________________
27                                        JEROME C. ROTH (State Bar No. 159483)
                                          jerome.roth@mto.com
28                                        MIRIAM KIM (State Bar No. 238230)

                                               7
     STIPULATION AND [PROPOSED] ORDER REGARDING                                    Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                   MDL NO. 1917
      Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 8 of 11



 1                                        miriam.kim@mto.com
                                          MUNGER, TOLLES & OLSON LLP
 2                                        560 Mission Street, Twenty-Seventh Floor
 3                                        San Francisco, California 94105-2907
                                          Telephone: (415) 512-4000
 4                                        Facsimile: (415) 512-4077

 5                                        BRAD D. BRIAN (SBN 079001)
                                          brad.brian@mto.com
 6                                        WILLIAM D. TEMKO (SBN 098858)
 7                                        William.Temko@mto.com
                                          GREGORY J. WEINGART (SBN 157997)
 8                                        gregory.weingart@mto.com
                                          E. MARTIN ESTRADA (SBN 223802)
 9                                        martin.estrada@mto.com
                                          MUNGER, TOLLES & OLSON LLP
10
                                          355 South Grand Avenue, Thirty-Fifth Floor
11                                        Los Angeles, CA 90071-1560
                                          Telephone: (213) 683-9100
12                                        Facsimile: (213) 687-3702

13                                        ROBERT E. FREITAS (SBN 80948)
                                          rfreitas@fawlaw.com
14
                                          FREITAS ANGELL & WEINBERG LLP
15                                        350 Marine Parkway, Suite 200
                                          Redwood Shores, California 94065
16                                        Telephone: (650) 593-6300
                                          Facsimile: (650) 593-6301
17
                                          Attorneys for Defendant LG Electronics, Inc.
18

19                                        TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP

20                                        By: /s/ Lauren C. Capurro
                                          MARIO N. ALIOTO (SBN 56433)
21                                        Email: malioto@tatp.com
                                          LAUREN C. CAPURRO (SBN 241151)
22                                        Email: laurenrussell@tatp.com
                                          TRUMP, ALIOTO, TRUMP & PRESCOTT,
23                                        LLP
                                          2280 Union Street
24                                        San Francisco, CA 94123
                                          Telephone: (415) 563-7200
25                                        Facsimile: (415) 346-0679

26                                        Interim Lead Counsel for the
                                          Indirect Purchaser Plaintiffs
27
28

                                               8
     STIPULATION AND [PROPOSED] ORDER REGARDING                                   Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                  MDL NO. 1917
      Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 9 of 11



 1                                        SUSMAN GODFREY L.L.P.

 2                                        By: /s/ Jonathan J. Ross___________
                                          Kenneth S. Marks
 3                                        Jonathan J. Ross
                                          Johnny W. Carter
 4                                        David M. Peterson
                                          John P. Lahad
 5                                        SUSMAN GODFREY L.L.P.
                                          1000 Louisiana Street, Suite 5100
 6                                        Houston, Texas 77002
                                          Telephone: (713) 651-9366
 7                                        Facsimile: (713) 654-6666
                                          Email: kmarks@susmangodfrey.com
 8                                        Email: jross@susmangodfrey.com
                                          Email: jcarter@susmangodfrey.com
 9                                        Email: dpeterson@susmangodfrey.com
                                          Email: jlahad@susmangodfrey.com
10
                                          Parker C. Folse III
11                                        Rachel S. Black
                                          Jordan Connors
12                                        SUSMAN GODFREY L.L.P.
                                          1201 Third Avenue, Suite 3800
13                                        Seattle, Washington 98101-3000
                                          Telephone: (206) 516-3880
14                                        Facsimile: (206) 516-3883
                                          Email: pfolse@susmangodfrey.com
15                                        Email: rblack@susmangodfrey.com
                                          Email: jconnors@susmangodfrey.com
16
                                          Attorneys for Plaintiff Alfred H. Siegel,
17                                        Solely in his Capacity as Trustee of the
                                          Circuit City Stores, Inc. Liquidating Trust
18
                                          PAUL WEISS, RIFKIND, WHARTON &
19                                        GARRISON LLP
20
                                          By: /s/ Craig A. Benson_____________
21                                        Kenneth A. Gallo (pro hac vice)
                                          Joseph J. Simons (pro hac vice)
22                                        Craig A. Benson (pro hac vice)
                                          PAUL,WEISS, RIFKIND, WHARTON &
23                                        GARRISON LLP
                                          2001 K Street, NW
24
                                          Washington, DC 20006
25                                        Telephone: (202) 223-7300
                                          Facsimile: (202) 223-7420
26                                        Email: kgallo@paulweiss.com
                                          Email: jsimons@paulweiss.com
27                                        Email: cbenson@paulweiss.com
28

                                               9
     STIPULATION AND [PROPOSED] ORDER REGARDING                                     Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                    MDL NO. 1917
     Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 10 of 11



 1                                        Stephen E. Taylor (SBN 058452)
                                          Jonathan A. Patchen (SBN 237346)
 2                                        TAYLOR & COMPANY LAW OFFICES, LLP
 3                                        One Ferry Building, Suite 355
                                          San Francisco, California 94111
 4                                        Telephone: (415) 788-8200
                                          Facsimile: (415) 788-8208
 5                                        Email: staylor@tcolaw.com
                                          Email: jpatchen@tcolaw.com
 6

 7                                        Attorneys for Plaintiffs Sharp Electronics
                                          Corporation and Sharp Electronics Manufacturing
 8                                        Co. of America

 9                                        ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
10
                                          By: /s/ Laura Nelson
11                                        Roman M. Silberfeld, (SBN 62783)
                                          David Martinez, (SBN 193183)
12                                        Jill Casselman
                                          ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
13                                        2049 Century Park East, Suite 3400
                                          Los Angeles, CA 90067-3208
14
                                          Telephone: (310) 552-0130
15                                        Facsimile: (310) 229-5800
                                          Email: RMSilberfeld@rkmc.com
16                                        Email: DMartinez@rkmc.com
                                          Email: jcasselman@rkmc.com
17
                                          Elliot S. Kaplan
18
                                          K. Craig Wildfang
19                                        Laura E. Nelson
                                          ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
20                                        800 LaSalle Avenue
                                          2800 LaSalle Plaza
21                                        Minneapolis, MN 55402
22                                        Telephone: (612) 349-8500
                                          Facsimile: (612) 339-4181
23                                        Email: eskaplan@rkmc.com
                                          Email: kcwildfang@rkmc.com
24                                        Email: lenelson@rkmc.com
25                                        Attorneys For Plaintiffs Best Buy Co., Inc, Best Buy
26                                        Purchasing LLC, Best Buy Enterprise Services, Inc.,
                                          Best Buy Stores, L.P., Bestbuy.com, L.L.C., and
27                                        Magnolia Hi-Fi, Inc.

28

                                              10
     STIPULATION AND [PROPOSED] ORDER REGARDING                                   Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                  MDL NO. 1917
     Case 3:07-cv-05944-JST Document 3605 Filed 02/17/15 Page 11 of 11



 1                                               CROWELL & MORING LLP
 2                                               By: /s/ Jason C. Murray_____________
 3                                               Jason C. Murray (CA Bar No. 169806)
                                                 CROWELL & MORING LLP
 4                                               515 South Flower St., 40th Floor
                                                 Los Angeles, CA 90071
 5                                               Telephone: 213-443-5582
                                                 Facsimile: 213-622-2690
 6                                               Email: jmurray@crowell.com
 7
                                                 Jerome A. Murphy (pro hac vice)
 8                                               Astor H.L. Heaven (pro hac vice)
                                                 CROWELL & MORING LLP
 9                                               1001 Pennsylvania Avenue, N.W.
                                                 Washington, D.C. 20004
10
                                                 Telephone: 202-624-2500
11                                               Facsimile: 202-628-5116
                                                 E-mail: jmurphy@crowell.com
12                                               Email aheaven@crowell.com

13                                               Attorneys for Target Corp. and Viewsonic Corp.
14
                                                 KENNY NACHWALTER, P.A.
15
                                                 By: /s/ Kevin J. Murray___________
16                                               Richard Alan Arnold
                                                 William J. Blechman
17                                               Kevin J. Murray
                                                 KENNY NACHWALTER, P.A.
18
                                                 201 S. Biscayne Blvd., Suite 1100
19                                               Miami, FL 33131
                                                 Tel: 305-373-1000
20                                               Fax: 305-372-1861
                                                 Email: rarnold@knpa.com
21                                               Email: wblechman@knpa.com
22                                               Email: kmurray@knpa.com

23                                               Attorneys for Plaintiff Sears, Roebuck and Co. and
                                                 Kmart Corp.
24

25

26          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
27   document has been obtained from each of the above signatories.
28

                                                     11
     STIPULATION AND [PROPOSED] ORDER REGARDING                                           Case No. 07-5944
     DEADLINE FOR BRIEFING AND HEARING DATE FOR MOTIONS IN LIMINE                          MDL NO. 1917
